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                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


JOHN KOE                                      )      CASE NO.1:22-CV-01455
                                              )
                 Plaintiff                    )      JUDGE DAN AARON POLSTER
                                              )
                                              )
        vs.                                   )
                                              )
UNIVERSITY HOSPITALS HEALTH                   )
SYSTEM, INC., et al.,                         )
                                              )
                 Defendants.                  )


      PLAINTIFF'S MEMORANDUM INSUPPORT OF PLAINTIFF'S MOTION
        TO ALTER OR AMEND JUDGMENT AND FOR RECONSIDERATION
    OF THE ORDER DISMISSING PLAINTIFF'S ACTION, THE ORDER DENYING
         PLAINTIFF'S REQUEST TO PROCEED UNDER A PSEUDONYM,
              AND THE ORDER ENTERED ON OCTOBER 11, 2022


I. INTRODUCTION:

        Plaintiff moves this Court, pursuant to Rule 59 of the Federal Rules of Civil Procedure, to

reconsider its October 13, 2022 order and to amend its judgement denying his request to proceed

under a pseudonym, dismissing his entire action pursuant to "28 U.S.C. §1915(e)" for "lack of

jurisdiction".

        Because Plaintiffs pleadings clearly assert non-frivolous and viable claims for relief

uuder federal law, because this Court has jurisdiction to hear and decide Plaintiffs action on the

merits, because an action cannot be dismissed under 28 U.S.C. § 1915 for lack of jurisdiction,

because a real name is not required for jurisdiction uuder Fed. R. Civ. P. l0(a), because the

Court considered and adopted Defendants' legal arguments while denying Plaintiff an
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opportunity to respond, Plaintiff requests that the court reverse or vacate its decision dismissing

Plaintiff's entire action to correct clear errors of law and to prevent manifest injustice.

        Plaintiff additionally moves this Court, pursuant to Rule 59 of the Federal Rules of Civil

Procedure, to reconsider its October 11, 2022 order and to amend its judgement issuing an order

prohibiting "Plaintiff' from "communicating with any of Defendants' officers, employees, or

affiliates."

        Because the order is a restraining order that restricts Plaintiffs 1st Amendment Rights in

violation of the doctrine of "prior restraint", because the order was issued ex parte without prior

notice and with affording Plaintiff an opportunity to be heard, because the order cannot be

sustained tmder Fed. R. Civ. P. 26(c), because the court did not have jurisdiction to issue the

order pursuant to 29 U.S.C. § 104, and because Defendants' sought this order for improper

purpose, Plaintiff requests that the court vacate its decision to issue the order to correct a clear

error oflaw and to prevent manifest injustice.


Background and Procedural History:

        Plaintiff Koe commenced this action against Defendants on August 15, 2022 by filing his

prose Complaint alleging prohibited medical examinations/inquiries, interference,

discrimination, harassment, and retaliation under the Americans with Disabilities Act, Genetic

Information Non-Disclosure Act, and Title VII of the Civil Rights Act. (Doc #1). With his

Complaint, Koe filed an application to proceed in Jonna pauperis triggering the screening

procedure under 28 U.S.C § 1915.

        On September 16, 2022, Defendants filed a Motion ofDi3miss (Doc. #3) prior to the

Court's sua sponte screening of Plaintiff's Complaint and thus1Jrior to service of process. On

October 10, 2022, Defendants filed a motion moving the Court to issue an order prohibiting
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Plaintiff from communicating with any of Defendants' officers, employees, or affiliates under

Fed. R. Civ. P. 26(c). (Doc #5) On October 11, 2022, the Court granted Defendants Motion and

entered an Order prohibiting "Plaintiff' from "communicating with any of Defendants' officers,

employees, or affiliates." (Doc #6)

       On October 13, 2022, the Court entered an Order (Doc #7) granting Plaintiffs informa

pauperis application, denying Plaintiffs request to proceed using a pseudonym, and dismissing

Plaintiffs entire action. The Court asserted it "lacked jurisdiction" to hear Plaintiffs citing the

reasoning of the 10th Circuit in Nat'l Commodity & Barter Ass 'n, Nat'/ Commodity Exch. v.

Gibbs, 886 F.2d 1240, 1245 (10th Cir. 1989) as cited by the non-binding decision in Citizens for

a Strong Ohio v. Marsh, 123 Fed. App'x. 630, 637 (6th Cir. Jan. 3, 2005). (Doc #7). On October

13, 2022, the Court entered a final judgement dismissing Plaintiffs action under "28 U.S.C. §

1915(e)" and certifying that an appeal from the decision could not be taken in good faith

pursuant to 28 U.S.C. § 1915(a)(3). (Doc. #8)

       On November 8, 2022, Plaintiff filed a motion with this memorandum asking the Court to

reconsider its rulings and alter and amend its judgment to correct clear errors of law and in order

prevent manifest injustice.

II. ARGUMENT

A. The Standard of Review for Rule 59 Motions

       Fed. R. Civ. P. 59(e) states: "A motion to alter or amend judgment must be filed no

later than 28 days after the entry of the judgment." The court entered its judgment on

October 13, 2022, making this motion timely. While the rule does not discuss the specific

reasons for granting a Rule 59 motion, the Sixth Circuit has held that a court should alter a

judgment if there is: (I) a clear e1TOr oflaw; (2) newly discovered evidence; (3) an intervening

change in controlling law; or (4) a need to prevent manifest injustice. See, Intera Corp. v.
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Henderson, 428 F.3d 605, 620 (6th Cir. 2005). "The rule essentially enables a district court to

correct its own errors, sparing the parties and the appellate courts the burden of unnecessary

appellate proceedings." Russell v. Delco Remy Div. of General Motors Corp., 51 F.3d 746, 749

(7th Cir. 1995). Plaintiff's motion asserts that the court should correct a clear error oflaw and

alter or amend its judgment to prevent manifest injustice.

B. Standard of Review and Standard for Dismissal Under 28 U.S.C. § 1915(e)

        In this circuit, a district court's decision to dismiss a complaint pursuant to 28 U.S.C. §

1915(e)(2) is reviewed de novo. Hill v. Lappin, 630 F.3d 468,470 (6th Cir.2010). 28 U.S.C. §

1915(e) in relevant part (2) authorizes courts to dismiss an informa pauperis claim if, inter alia,

"the action is frivolous or malicious" or "fails to state a claim." Whether a complaint is factually

frivolous under 28 U.S.C.1915(e)(2)(B)(i) is a separate issue from whether it fails to state a claim

for relief under 28 U.S.C.1915(e)(2)(B)(ii). Id. The courts held that under the frivolous prong of

this statute "dismissal is proper only if the legal theory or the factual contentions lack an

arguable basis." Neitzke v. Williams, 490 U.S. 319 (1989). "[L]ack of jurisdiction" is not one of

the explicitly enumerated reasons for dismissal under 28 U.S.C. § l915(e).

       Plaintiff has been unable to find a parallel controlling authority in this Circuit where a

court dismissed an action under 28 U.S.C. § l915(e) for "lack of jurisdiction" without further

clarifying the basis for dismissal. However, it is well established that a complaint cannot be not

be dismissed for failure to state a claim based on lack of jurisdiction. Brown v. Strickler, 422

F.2d 1000, 1001 (6th Cir. 1970) ("initially, we observe that the District Judge's determinations

that the comi lacked jirrisdiction and that the complaint failed to state a cause of action are

incompatible.") A complaint could potentially be dismissed as "frivolous" based on lack of

jurisdiction ifthere was absolutely not arguable basis in law or fact for the court's jurisdiction.

Outside of the context of28 U.S.C. §1915, this Circuit has observed "[s]ummary dispositions
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should be limited to those instances where the absence of jurisdiction is clear 'on the face of the

complaint and is obviously not curable[ ... ].' Brown v. Strickler, 422 F.2d 1000, 1001 (6th Cir.

1970). Other courts have agreed that "[d]ismissal should be denied whenever it appears that a

basis for federal jurisdiction in fact exists or may exist and can be stated by the plaintiff."

Tarkowski, 644 F.2d at 1207, quoting Littleton v. Berbling, 468 F.2d 389 (7th Cir. 1972).

C. The Court Has .Jurisdiction to Hear and Decide This Action

        Congress vests federal district courts with subject-matter jurisdiction over cases involving

questions of federal law: "The district courts shall have original jurisdiction of all civil actions

arising under the Constitution, laws, or treaties of the United States." 28 U.S.C. § 1331. See also

Beneficial Nat'! Bank v. Anderson, 539 U.S. 1, 6 (2003) ("'[A] suit arises under the Constitution

and laws of the United States only when tht; plaintiff's statement of his own cause of action

shows that it is based upon those laws or that Constitution.'").

       Federal Rule 12(h)(3) states that, ''[i]fthe court determines at any time that it lacks

subject-matter jurisdiction, the court must dismiss the action." Fed. R. Civ. P. 12(h)(3). "The test

for dismissal is a rigorous one and if there is any foundation or plausibility to the claim, federal

jurisdiction exists." 13D Wright & Miller§ 3564, pp. 244-45. The Supreme Court has found a

"starting presumption that when jurisdiction is conferred, a court may not decline to exercise it.''

Union Pacific R.R. Co. v. Bhd ofLocomotive Eng'rs and Trainmen, U.S., 130 S.Ct. 584, 590,

L.Ed.2d (2009). In other words, jurisdiction is not an exercise of discretion.

        In his Complaint, Plaintiff's Complaint states the basis for the Court's jurisdiction is that

it is "brought for discrimination in employment pursuant to" "Title VII of the Civil Rights Act of

1964, as codified, 42 U.S.C. §§ 2000e to 2000e", "Americans with Disabilities Act of 1990, as

codified, 42 U.S.C. §§ 12112 to 12117", and the "Genetic Information Nondiscrimination Act of
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2008, as codified, 42 U.S.C §§ 2000ff et seq." (Doc. 1 at 3). Thus, Plaintiffs pleadings establish

that this Court has federal question jurisdiction under 28 U.S.C. § 1331.

       The Court in dismissing the action reasoned that "Plaintiffs motion to proceed

anonymously is therefore denied, and the action is dismissed for lack of jurisdiction" relying on

the reasoning in Gibbs as cited by Marsh. If the Court did not dismiss Plaintiffs action for "lack

of jurisdiction" based on its discretional decision to deny his request proceed under a

pseudonym, then it dismissed Plaintiffs action on the ground that it lacked jurisdiction because

his original Complaint was not filed using his real name    . However, under Fed. R. Civ. P. 10, a

real name is not jurisdictional.

D. A Real Name Is Not Required for Jurisdiction

       A plaintiffs real name is not and cannot be jurisdictional under Fed. R. Civ. P. lO(a) if

the Court has the power to fully hear and decide a case brought by a pseudonymous litigant such

as in Doe v. Porter, 370 F.3d 558 or Roe v. Wade, 410 U.S. 113.

        The 4th Circuit recently reviewed this very issue in B.R. v. F.C.S.B., No. 21-1005 (4th Cir.

Nov. 2, 2021) holding that a federal court has subject-matter jurisdiction over a claim despite not

knowing the plaintiffs true name. After careful consideration including analysis of the decision

in National Commodity & Barter Ass 'n v. Gibbs, 886 F.2d 1240, 1245 (10th Cir. 1989), the

Court concluded that:

           Gibbs represents the kind of "drive-by jurisdictional ruling[] of [the] sort"
           that was more common before Supreme Court decisions like Steel
           Company made clear that the term subject-matter jurisdiction means "the
           cmnis' statutory or constitutional power to adjudicate the case." 523 U.S.
           at 89, 91. Indeed, Gibbs was decided before Steel Company.
        The 4th Circuit while recognizing pseudonymous litigation implicates the "customary and

constitutionally-embedded presumption of openness in judicial proceedings," Doe v. Stegall, 653

F.2d 180, 186 (5th Cir. 1981) rejected "the suggestion that a plaintiffs failure to disclose her
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name to the court at the outset of the litigation denies the court the power to resolve the dispute.

Rather, a district court that possesses jurisdiction over such an action -   and thus has not just the

power but the virtually unflagging duty to hear and decide it, Lexmark Int 'l, Inc. v. Static Control

Components, Inc., 572 U.S. 118, 126 (2014)." (internal quotation marks omitted, emphasis in the

original). Accordingly, this Court has not only federal-question jurisdiction over Plaintiffs

action under 28 U.S.C. § 1331, but also the duty to hear and decide it.

F. Plaintiff was Prejndiced by the Error of Law

       Plaintiff was prejudiced by the error oflaw explained above as the CoU1t could not have

dismissed Plaintiffs complaint under 28 U.S.C. § 1915(e) or for lack of jurisdiction or in light of

Rule 17(a). The Court's dismissal deprived Plaintiff of the procedural protections laid under n

Tingler v. Marshall, 716 F.2d 1109, 1112 (6th Cir. 1983). In Tingler, the Sixth Circnit held that

a district court faced with a complaint which it believes may be subject to dismissal must 1)

allow service of the complaint upon the defendant; 2) notify all parties of its intent to dismiss the

complaint; 3) give the plaintiff a chance to either amend his complaint or respond to the reasons

stated by the district court in its notice of intended sua sponte dismissal; 4) give the defendant a

chance to respond or file an answer or motions; and 5) if the claim is dismissed, state its reasons

for the dismissal.

        In this case, the error has resulted in delayed service of process, denied Plaintiff the

opportw1ity to argue in opposition to Defendants' motions, denied Plaintiff of prior notice of the

dismissal of the complaint, denied Plaintiff the opportunity to be heard prior to dismissal, and

resulted in an erroneous dismissal of Plaintiffs complaint .In short, the errors or law and

procedural deficiencies have resulted in delay and denial of procedural due process. The fact that

Plaintiffs action was dismissed without prejudice does not moot or mitigate these ham1s.
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        The Court in its Order entered on October 13, 2022 advised Plaintiff that ifhe wished to

proceed with his action he "must within fourteen (14) days of the entry of this order: (1) file a

motion to reopen the case; and (2) file an amended complaint identifying himself." This Order

denied Plaintiff any opportunity to offer the Court a clearer explanation of the exceptional

circumstances in this case that warrant the use of a pseudonym by amendment or response. In

short, the Court offered Plaintiff the Robson's choice of forgoing his action entirely or refiling

without a pseudonym and incurring or amplifying the injury associated with the very violations

of the privacy provision of Title I of the ADA that he is litigating against. The private and

privileged information at stake in this matter only exists or is only at issue as a result of

Defendants' unlawful intrusion into Plaintiffs medical affairs during his employment in

violation of the ADA, 42 U.S.C. 12112(d)(4)(a).

G. Plaintiff Should Be Allow to Proceed Under A Pseudonym

       Plaintiff requested to proceed under a pseudonym in this case because this is a case in

which ""the injury litigated against would be incurred as a result of the disclosure of the [party's]

identity," Doe v. Mass. Inst. of Tech., No. 22-1056, 21 (1st Cir. Aug. 24, 2022) (citing Doe v.

Frank, 951 F.2d at 324.). As the First Circuit recently articulated in Doe v..Mass. Inst. of Tech.,

this is the type of case:

        in which anonymity is necessary to forestall a chilling effect on future litigants
        who may be similarly situated. See Megless, 654 F.3d at 410 (emphasizing
        need to ascertain whether "other similarly situated litigants [will] be deterred
        from litigating claims that the public would like to have litigated"). Because
        "courts provide the mechanism for the peaceful resolution of disputes that
        might otherwise give rise to attempts at selfhelp," they must be wary of
        "deter[ring] the legitimate exercise of the right to seek a peaceful redress of
        grievances throughjudicial means." Talaminiv. Allstate Ins. Co., 470 U.S.
        1067, 107071 (1985) (Stevens, J., concurring); see BE & K Constr. Co.v.
        NLRB, 536 U.S. 516,532 (2002).
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       The public interest in this action is whether or not Defendants' have maintained and acted

to maintain an unlawful scheme of using an Employee Assistance Program ("EAP") as

subterfuge to violate rights guaranteed by federal laws. The very fact that Defendants' even have

a mandatory EAP policy or practice primafacie contradicts the EEOC's regulatory guidance and

the federal regulations implementing the ADA 29 CFR 1630.14(d) et seq which make it clear

that employee health programs (e.g. EAPs) are only excepted from the presumption that medical

examinations/inquiries are unlawful. In essence, Plaintiff is a whistleblower serving the public

interest inherent in the enforcement of rights protected by or guaranteed by federal laws as a

"private attorney general." When Defendants learned that Plaintiff had filed federal charges

inviting federal scrutiny on their practices, Defendants undertook a sophisticated campaign of

retaliation. Within two months of Defendants' receipt of Plaintiffs EEOC charge, Defendants

discharged Plaintiff under pretext the day after Plaintiff requested evidence to support his

charges and opposed Defendants' policies.

       While Defendants have already retaliated against Plaintiff, Plaintiff has not yet incurred

the harm of the unlawful and widespread public disclosure of medical information explicitly

protected from disclosure, without limitation, under 42 U.S.C. § 290dd-2, 42 U.S.C. § 12112(d),

and by the psychotherapist-client privilege. See, Jaffee v. Redmond, 518 U.S. 1. This information

only exists or is at issue because of Defendants discriminatorily and unlawfully subjected

Plaintiff to prohibited medical examinations/inquiries, 42 U.S.C. § 12112(d)(4)(a) under the

subterfuge of their EAP in violation of29 C.F.R. § 1630.14(d) et seq. Defendants have already

shown they are willing to abuse the litigation privilege to attack Plaintiff and to improperly

publish communications protected by privilege without Plaintiffs consent (e.g. Doc. 5-1 at 23-

24) for no other purpose than improper purpose such as harassing Plaintiff.
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       In light of the exceptional circumstances of this case, allowing Plaintiff to proceed under

a pseudonym strikes the balance between protecting Plaintiffs privacy interests, the public

interest in the enforcement of the privacy provisions of Title I of the ADA, the public interest in

privacy protections under 42 U.S.C. § 290dd-2, the public interest in maintaining the sanctity of

the psychotherapist-client privilege, the public interest in ensuring that other similarly situated

litigants will come forward, and the public interest in open judicial proceedings. There is no

other less restrictive alternative because, compared to sealing records, allowing Plaintiff to

proceed under a pseudonym allows the public to know all of the pertinent facts in this matter

except Plaintiff's real name. Permitting Plaintiff to proceed pseudonymously will not

disadvantage Defendants in the legitimate defense of this action because they already know

Plaintiff's true identity. Furthermore, allowing Plaintiff to proceed under a pseudonym will serve

justice because it will focus litigation on the claims and limit the incentive for Defendants to

continue to maliciously attack Plaintiff. See, Doe v. United Services Life Ins. Co., 123 F.R.D.

437,439 (S.D.N.Y. 1988) ("Defendant[s] will only be barred from using or disclosing the frnits

of [their] discovery for purposes other than the defense of this action.").

H. Action is Needed to Prevent Manifest Injustice

        The Court dismissed Plaintiff action under the authority of28 U.S.C. § 1915(e) designed

for sua sponte dismissal before service and before an answer is filed. In this case however, the

Court clearly considered Defendants Motion to Dismiss as well as Defendants' Motion for a

Protective Order before dismissal. When the Court entered its Order and Judgement on October

13, 2022 before the end of any 30-day dispositive Motion window, the Court denied Plaintiff an

opportunity to respond in opposition and point out the errors of law in the legal arguments

advanced by Defendants.
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       Similarly, the Court considered Defendants' October 10, 2022 Motion within 24 hours of

its filing. On October 11, 2022, the Court granted Defendants' Motion and entered the order

prohibiting Plaintiff from communicating with any of Defendants' officers, employees, or

affiliates without providing Plaintiff with notice and without affording Plaintiff any opportunity

to be heard.

       The October 11, 2022 Order cannot be justified under the Rule 26(c) standard in this

Circuit. See, Serrano v. Cintas Corp., 699 F.3d 884,901 (6th Cir. 2013) ("to justify a protective

order, one of Rule 26(c)(l)'s enumerated harms "must be illustrated 'with a particular and

specific demonstration of fact, as distinguished from stereotyped and conclusory statements.' ")

(citing Nemir v. Mitsubishi Motors Corp., 381 F.3d 540, 550 (6th Cir.2004)). A paity seeking a

protective order must certify that it "has in good faith conferred or attempted to confer with other

affected parties in an effort to resolve the dispute without court action." Fed.R.Civ.P. 26(c)(l).

        Defendants did not confer with Plaintiff in good faith or attempt to confer with Plaintiff.

The requirement to meet-and-confer must be taken seriously. CoU1ts have held that they must

find that the parties made a good faith effort to resolve the dispute before the court can rule on

the merits of the motion. See Shappell v. Schrader, 2009 WL 2515817, *1 (N.D. Ind. August 13,

2009) (finding good faith certification of a single letter and a brief telephone conversation is

inadequate). A good-faith effort involves "a genuine two-way communication where the parties

engage in a meaningful dialogue to resolve the issues without judicial intervention." Forest River

Haus., Inc. v. Patriot Homes, Inc., No. 06-841, 2007 WL 1376289, at *1 (N.D. Ind. May 7,

2007). Defendants' filings reveal the fact that they did not confer with Plaintiff in good faith or

attempt to confer with Plaintiff to resolve the dispute before involving the Comt. Defendants'

counsel's October 3, 2022 and October 4, 2022 emails vaguely threatening Plaintiff with a

restraining order do not constitute good faith conferral or an attempt to confer. Plaintiffs
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October 4, 2022 reply is reasonable and shows an earnest attempt to resolve the matter without

court involvement. Notably, Defendants have concealed from the Court the fact that they refused

to confer with Plaintiff and failed to return the messages Plaintiff left on October 5, 2022 seeking

to confer.

        Rule 26(c) is meant to protect parties from abusive discovery and is not meant to be used

to limiting communications between parties or other interested parties. See, Smith v. Kentucky

Fried Chicken, No. 06-426-JBC, 9 (E.D. Ky. Jan. 17, 2007). ("Rule 26(c) deals with protection

from abusive and harassing discovery; it is not meant to limit a party's communications with

other parties.") In any case, Defendants did not show good cause and the order is highly

prejudicial to Plaintiffs ability to prosecution his action. See, Nemir v. Mitsubishi Motors Corp.,

381 F.3d 540, 550-551 (6th Cir. 2004). Defendants' sought protection from claimed "annoyance,

embarrassment, oppression, or undue burden or expense" of Plaintiff's communications. (Doc. 5

at 4 ). Defendants did not identify any particular harm and illustrate it "with a particular and

specific demonstration of fact." Id. Instead, Mr. Campbell's Declaration contains "stereotyped

and conclusory statements", information and belief, hearsay, and vague allegations of

"inappropriate" or "improper" communications without any factual specificity or evidentiary

support.

        The restraining order requested by Defendants and issued by the Court prohibits Plaintiff

from communicating with over 25,000+ individuals employed by Defendants. The October 11,

2022 order constitutes prior restraint of Plaintiffs 1st Amendment rights. The Supreme Court has

emphasized that "[a] system of prior restraints of expression comes to this Court bearing a heavy

presumption against its constitutional validity." Bantam Books v. Sullivan, 372 U.S. 58,

70 (1963); Freedman v. Maryland, 380 U.S. 51, 57 (1965). Even where this presumption might

otherwise be overcome, there must be "careful procedural provisions, designed to assure the
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fullest presentation and consideration of the matter which the circumstances permit[ ... ] to

obviate the dangers of a censorship system." Carroll v. Princess Anne, 393 U.S. 175, 181 (1968)

(internal citations omitted). The restraining order in this case was issued ex parte, without formal

or informal notice to Plaintiff, without affording him an opportunity to be heard, and without any

other procedural protections.

       Moreover, as this case arises from a labor dispute and plaintiff is a person participating or

interested in the labor as defined by the Norris-La Guardia Act 29 U.S.C. § 113, this Court

pursuant to 29 U.S.C. § I 04 does not have the jurisdiction to issue a restraining order prohibiting

Plaintiff from engaging in peaceful acts including but not limited to communicating with other

interested individuals such as Defendants' employees.

        To this point, Defendants failed to disclose to another very relevant and material fact to

the Court in their October 10, 2022 filings. On or around October 4, 2022, National Labor

Relations Board Region ("NLRB") 08 made a finding of merit on Plaintiffs allegation filed over

the December 2, 2021 Cease and Desist Letter as a violation of the National Labor Relations Act

("NLRA"). The Region also found merit to Plaintiffs allegations that Defendants' maintained

workplace rules that interfered with Section 7 rights of resident physicians and thus violated

Section 8(a)(l) of the NLRA. In light of this fact, Plaintiff respectfully asks that this Court

consider that Defendants' motion seeking an order prohibiting Plaintiff from communicating

with any of its employees was submitted for improper purpose.

        Specifically, Defendants filed their motion in retribution for the NLRB' s merit findings

and to interfere with rights including, without limitation, those guaranteed by Section 7 of the

NLRA. Additionally, Defendants abused the litigation privilege as cloak of immunity to paint

Plaintiff as a vexatious litigant by inter alia publishing highly prejudicial but non-probative

statements including those contained in their self-serving December 2, 2021 Cease and Desist
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Letter. This letter contains statements that are false and damaging and that are designed to

interfere with Plaintiff's ability to retain counsel. Defendants also improperly filed and thus

published privileged communications protected by the psychotherapist-client privilege without

Plaintiffs consent and in violation of, without limitation Ohio R. Prof'!. Cond. 4.4. See, Id.

Comment [1]. In short, Defendants' October 10, 2022 filings were made in bad faith and for no

other substantial purpose than to confuse the Court, embarrass or harass Plaintiff, interfere with

federally protected rights, and intimidate other employees who may have been subjected to the

same or similar unlawful employment practices from coming forward.

       In their quest to interfere with Plaintiff's rights, protected activity, and ability to

prosecute this action, Defendants have resorted to abusive tactics including, without limitation,

presenting frivolous, contradictory, bad faith legal arguments to the Court, abusing         the

litigation privilege, and moving the Court to issue an restraining order against Plaintiff to violate

Plaintiffs constitutional and other federally protected rights. Defendants' conduct in this action

evinces a total disregard for the Professional Rules of Conduct, constitutional rights, other

federally protected rights, equity, the administration of justice, and the Court's time and

resources. Ironically, Defendants abusive attempt to paint Plaintiff as a vexatious litigant because

of his opposition to Mr. Campbell's unethical, harassing, and dilatory conduct has only shown

that Plaintiff's objections are not without merit and that Plaintiff's opposition was reasonable and

made in good faith.

CONCLUSION


        Given the clear errors illustrated above and to remedy manifest injustice, the Court

should reverse its decision dismissing Plaintiffs entire action. In the alternative, should the

Court decide not to reverse its decision, Plaintiff requests that the court vacate its certification
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under 28 U.S.C. § 1915(a)(3) that an appeal could not be taken in good faith in light of the points

and authorities Plaintiff has advanced in this memorandum.

       If the Court does reverse its decision dismissing Plaintiffs action, Plaintiff respectfully

requests that the Court reconsider its decision to deny his request to proceed under a pseudonym

and issue a protective order that allows him to proceed under a pseudonym at least until the

Court has an opportunity to hear and fully weigh all of the relevant facts and circumstances of

this exceptional case. Plaintiff respectfully requests leave to amend his complaint in the interest

of justice. Plaintiff respectfully requests that the Court direct the U.S. Marshalls to effect service

of process and, if necessary, enlarge time to do so.

       Given these clear errors and manifest injustice related to the order entered on October 11,

2022 restraining Plaintiff from exercising his 1st Amendment rights and to interfere with other

rights, the Court should reverse its decision, dissolve the order, and take corrective action against

Defendants for their abusive litigation tactics and outrageous abuse of process aimed at

interfering with federally protected rights.

           Plaintiff respectfully requests that the Court consider using its power to ensure justice

by awarding Defendants and their counsel an appropriate prize (e.g. disqualification and referral

pursuant to LR 83.7).



Date: November 9, 2022                                                 Respectfully submitted,


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